Case 3:16-md-02738-MAS-RLS Document 9739 Filed 05/07/19 Page 1 of 4 PageID: 41086




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                  Civil Action No. 3:16-md-2738-
   TALCUM POWDER PRODUCTS                    FLW-LHG
   MARKETING, SALES
   PRACTICES, AND PRODUCTS                   MDL No. 2738
   LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL CASES


   MOTION AND NOTICE OF MOTION OF THE PLAINTIFFS’ STEERING
     COMMITTEE TO EXCLUDE THE OPINIONS OF DEFENDANTS’
   TOXICOLOGY EXPERTS BROOKE T. MOSSMAN, M.S., PH.D., KELLY
           S. TUTTLE, PH.D., AND H. NADIA MOORE, PH.D.


        PLEASE TAKE NOTICE, that pursuant to Fed. R. Evid. 104(a), 403, 702,

  and 703, the Plaintiffs’ Steering Committee (“PSC”) hereby moves to exclude the

  opinions and testimony of Karla Ballman, Ph.D., Christian Merlo, M.D., MPH,

  Gregory Diette, M.D., MHS, and Jonathan Borak, M.D., DABT.

        For the reasons set forth more fully in the following accompanying materials,

  the Court should grant the PSC’s motion:

        • The Plaintiffs’ Steering Committee’s Omnibus Brief Regarding
          Daubert Legal Standard and Scientific Principles for Assessing
          General Causation;

        • The Plaintiffs’ Steering Committee’s Memorandum of Law in
          Support of Its Motion to Exclude the Opinions Defendants’
          Toxicology Experts Brooke T. Mossman, M.S., Ph.D., Kelly S.
          Tuttle, Ph.D., and H. Nadia Moore, Ph.D.; and
Case 3:16-md-02738-MAS-RLS Document 9739 Filed 05/07/19 Page 2 of 4 PageID: 41087




        • Certification of Counsel with attached Exhibits.

        A proposed form of order is attached.

  Dated:      May 7, 2019              Respectfully submitted,

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                                          2
Case 3:16-md-02738-MAS-RLS Document 9739 Filed 05/07/19 Page 3 of 4 PageID: 41088




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                                        3
Case 3:16-md-02738-MAS-RLS Document 9739 Filed 05/07/19 Page 4 of 4 PageID: 41089




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                                       4
